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                                                                   * NOVEMBER 02, 2023 *
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                                                 23-CR-443




                                          Judge Frederic Block
                                          Magistrate Judge Joseph A. Marutollo
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